
PER CURIAM.
The trial court has the responsibility to determine the correct amount of restitution under section 948.03(l)(e), Florida Statutes, and in this case erred in delegating its responsibility to the probation officer. See Hamrick v. State, 532 So.2d 71 (Fla. 1st DCA 1988). The appellant’s other point on appeal is without merit.
That part of the order of probation providing for restitution to be determined by the probation officer is reversed and the cause is remanded for the trial court to determine the correct amount of restitution, after notice and hearing.
AFFIRMED in part; REVERSED in part; and REMANDED.
COWART and GOSHORN, JJ., and HARRIS, Associate Judge, concur.
